                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA                              )
     Plaintiff,                                       )
                                                      )
v.                                                    )       CASE NO. DNCW3:97CR294-17
                                                      )       (Financial Litigation Unit)
AMY GRIGG,                                            )
     Defendant,                                       )
                                                      )
and                                                   )
                                                      )
THE ORIGINAL PANCAKE HOUSE                            )
FACTORY SOUTH, LLC,                                   )
                    Garnishee.                        )

                        ORDER OF CONTINUING GARNISHMENT

        THIS MATTER is before the Court on the Answer of The Original Pancake House Factory

South, LLC, as Garnishee. On April 27, 1999, the Honorable Graham C. Mullen sentenced the

Defendant to eighteen months incarceration for her conviction of five counts of Money Laundering

in violation with 18 U.S.C. 1956(a)(1)(B)(I). Judgment in the criminal case was filed on April 28,

1999 (Docket No. 315). As part of that Judgment, the Defendant was ordered to pay an assessment

of $100.00 and restitution of $70,000.00 to the victims of the crimes.

        On January 6, 2011, the Court entered a Writ of Continuing Garnishment ("Writ") to

Garnishee, The Original Pancake House Factory South, LLC, ("Garnishee"). The United States is

entitled to a wage garnishment of up to 25% of net income and has satisfied the prerequisites set

forth in 15 U.S.C. 1673. Defendant was served with the Writ of Garnishment on January 25, 2011,

(Docket No. 543), and Garnishee was served on January 12, 2011. Garnishee filed an Answer on

February 4, 2011, (Docket No. 544), stating that at the time of the service of the Writ, Garnishee had

in their custody, control or possession property or funds owned by the Defendant , including non-




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exempt, disposable earnings.

       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $50,687.00, computed through January 5, 2011. Garnishee will pay

the United States up to 25% of Defendant's net earnings which remain after all deductions required

by law have been withheld and 100% of all 1099 payments, and Garnishee will continue said

payments until the debt to the Plaintiff is paid in full or until Garnishee no longer has custody,

possession or control of any property belonging to Defendant or until further order of this Court.

       Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, NC 28202. In order to

ensure that each payment is credited properly, the following should be included on each check:

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       The Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset

Program. Under this program, any federal payment the Defendant would normally receive may be

offset and applied to this debt.

       SO ORDERED.                               Signed: October 25, 2011




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